

People v Coleman (2017 NY Slip Op 07869)





People v Coleman


2017 NY Slip Op 07869


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, DEJOSEPH, AND WINSLOW, JJ.


1293 KA 16-00441

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vRAYMOND J. COLEMAN, JR., DEFENDANT-APPELLANT. 






THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (NICHOLAS P. DIFONZO OF COUNSEL), FOR DEFENDANT-APPELLANT. 
JOHN J. FLYNN, DISTRICT ATTORNEY, BUFFALO (DONNA A. MILLING OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Christopher J. Burns, J.), rendered February 19, 2016. The judgment convicted defendant, upon his plea of guilty, of attempted murder in the second degree, assault in the second degree (two counts) and criminal possession of a weapon in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: November 9, 2017
Mark W. Bennett
Clerk of the Court








